Case 9:10-cv-80737-DTKH Document 170 Entered on FLSD Docket 08/07/2012 Page 1 of 7




                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 10-CV-80737-HURLEY/HOPKINS
                         CASE NO. 10-CV-80738-HURLEY/HOPKINS

   SECURITIES AND EXCHANGE COMMISSION,

          Plaintiff,

   v.

   TRADE, LLC, PHILIP W. MILTON, and
   WILLIAM H. CENTER,

          Defendants,

   BD, LLC, TWTT-LLC, and CMJ CAPITAL,
   LLC,

         Relief Defendants.
   _______________________________________

    MOTION TO APPROVE COMPENSATION AND REIMBURSEMENT OF FEE
               AND EXPENSES TO JACK ACKERMAN ESQ.

          JACK ACKERMAN ESQ, by and through undersigned counsel files this Motion to

   Approve Compensation and Reimbursement of Fees and Expenses and alleges as follows:

          1.     Prior to this action this matter was the subject of a state court action. In that

   action Trade LLC announced it was the subject of competing claims by the various

   investment clubs, that Trade was shutting down its operations and seeking direction as the

   funds it was holding as of the shutdown. A copy of the Complaint for Declaratory and Other

   Relief is attached as Exhibit A.

          2.     There were preliminary motions for temporary injunction and other relief but

   the state court matter was resolved the appointment of Jack Ackerman Esq as an ‘escrow
Case 9:10-cv-80737-DTKH Document 170 Entered on FLSD Docket 08/07/2012 Page 2 of 7




   agent’ who then held the funds in trust for the benefit of third parties pending the outcome

   of the state court action.

          3.      This action was taken with the knowledge of the interested parties including

   the Securities and Exchange Commission. A copy of correspondence directed to the SEC is

   attached hereto and made a part hereof as Exhibit B.

          4.      Ultimately Jack Ackerman did take control of approximately $6 million in

   funds which he held for the benefit of the interested parties. Jack Ackerman is a long time

   attorney in Palm Beach County and former employee of the Office of the State Attorney for

   Palm Beach County. A copy of his resume is attached as Exhibit C.

          5.      The Securities and Exchange Commission did file this enforcement action and

   obtained the appointment of a Receiver in this case and a companion case involving the

   Commodities and Futures Trading Commission arising from the same facts and transactions.

          6.      Prior to the SEC enforcement action and the appointment of receiver Jack

   Ackerman dutifully acted as escrow agent and protected substantial funds in excess of $6

   million which was transferred to the receiver immediately upon request and is now

   presumably available to pay the claims of interested parties.

          7.      Jack Ackerman has not been paid and it is appropriate to pay him the

   reasonable value of his services which were a direct benefit to the receivership in this cause.

          8.      Mr. Ackerman incurred fees in the sum of $8965 based upon an hourly charge

   of $300/hour. A copy of the time records are attached and made a part hereof as Composite



                                                 -2-
Case 9:10-cv-80737-DTKH Document 170 Entered on FLSD Docket 08/07/2012 Page 3 of 7




   Exhibit D.

          9.     This is not in the nature of a fee application by a court appointed attorney or

   receiver as this predated the enforcement action. However it is appropriate to apply the same

   standard as the work and benefit to the receivership is essentially the same. Assuming the

   Court applies the same standard for approving attorney’s fees as per Johnson v Georgia

   Highway Express, Inc., 488 F. 2.d 714 (5th Cir.1974) then all of the twelve factors are equally

   applicable to this case.

          10.    The factors are as follows:

          a.     Time and Labor– The time records speak for themselves and are respectfully

                 modest considering the amount of money involved and what was at stake at the

                 time.

          b.     Novelty and Difficulty– this was an unusual matter involving a complex issue

                 regarding both state and federal law as it applied to investment clubs subject

                 to federal regulation.

          c.     Skill Required– This matter required a modest amount of skill and

                 understanding of issues of state and federal that applied to investment clubs.

          d.     Preclusion of Other Employment– Ackerman was not precluded from other

                 matters. However this matter required some urgency and special handling

                 when he was hired and required setting aside a significant period of time as

                 needed to accomplish the employment.


                                                 -3-
Case 9:10-cv-80737-DTKH Document 170 Entered on FLSD Docket 08/07/2012 Page 4 of 7




         e.   Customary Fee– Ackerman charged the sum of $300/hour which is well

              within the range of rates charged in this jurisdiction.

         f.   Fee fixed v contingent- The fees are neither fixed nor contingent. Ackerman

              depends upon approval of this court and therefore is subject to the risk of non

              payment. Ackerman fully expected that he would be eventually paid from the

              fund he was holding and protecting pursuant to some court order.

         g.   Time Limitations- This case required Mr. Ackerman to move quickly as there

              was pressure to secure the funds immediately for the benefit of the third

              parties.

         h.   Experience– Mr Ackerman has been a member of the Florida Bar for 50 years

              and enjoys the highest reputation for ability and honesty and it was precisely

              for that reason that he was selected as a trusted escrow agent.

         i.   Undesirability of Case- Mr. Ackerman does not claim this case was

              undesirable and indeed was proud to serve and participate in the proceeding

              as a ‘public service’ to the third parties.

         j.   Nature and Length of Professional Relationship- Mr. Ackerman had no

              relationship with any of the Defendants or Relief Defendants and indeed was

              selected because he was impartial and had no conflicts that precluded him

              from taking this matter.

         k.   Awards in Similar Cases– The award sought in this case is only $8965 in


                                              -4-
Case 9:10-cv-80737-DTKH Document 170 Entered on FLSD Docket 08/07/2012 Page 5 of 7




                order to protect a fund in the sum exceeding $6 million. The hourly rate and

                time involved is consistent with good and professional practice in this

                jurisdiction.

         l.     Source of Payment for Amounts Sought–Ackerman requests the amounts he

                seeks in this motion be paid from the funds held by the receiver in this cause.




         Wherefore Jack Ackerman Esq by and through undersigned counsel respectfully

   request this Court enter an order authorizing and directing the Receiver to pay the sum of

   $8965 to Jack Ackerman and for another relief consistent with grounds set forth in this

   Motion.


                                            Lawrence U. Taube, Esq.
                                            Law Offices of Lawrence U. Taube
                                            FBN 398608
                                            larry@larrytaube.com
                                            500 Australian Avenue South, Suite 630
                                            West Palm Beach, FL 33401
                                            Telephone 561-651-4160
                                            Facsimile    561-651-4161


                                            s/ Lawrence U. Taube
                                            LAWRENCE U. TAUBE. ESQ.
                                            FBN 398608




                                              -5-
Case 9:10-cv-80737-DTKH Document 170 Entered on FLSD Docket 08/07/2012 Page 6 of 7




                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing via email and U.S.

   Mail on the parties on the attached Service List this August 7 , 2012 and that the original

   was filed pursuant to the CM/ECF system.


                                             s/ Lawrence U. Taube
                                             LAWRENCE U. TAUBE. ESQ.
                                             FBN 398608




                                               -6-
Case 9:10-cv-80737-DTKH Document 170 Entered on FLSD Docket 08/07/2012 Page 7 of 7




                                          SERVICE LIST

   Patrick J. Rengstl, Esq.
   Levine, Kellog, Lehman
   Schneider & Grossman, LLP
   Counsel for the Receiver
   201 South Biscayne Boulevard
   34th Floor, Miami Center
   Miami, FL 33131
   305-403-8788
   305-403-8789 (F)
   pjr@LKLlaw.com

   Christopher E. Martin, Esq.
   Susan E. Curtin, Esq.
   Attorney for Plaintiff, Securities &
    Exchange Commission
   Miami Regional Office
   801 Brickell Avenue, Suite 1800
   Miami, FL 33131
   305-983-6386
   305-536-4154 (F)
   martinc@sec.gov
   curtins@sec.gov

   Jason Mahoney, Esq.
   U. S. Commodity Futures           Trading
   Commission
   Three Lafayette Center
   Washington, DC 20581
   202-418-5000
   202-418-5523 (F)
   jmahoney@cftc.gov

   Christopher Bruno, Esq.
   Attorney for William H. Center
   Bruno & Degenhardt
   10615 Judicial Drive, Suite 703
   Fairfax, VA 22030
   c.bruno6@verizon.net

                                               -7-
